This is an appeal by the plaintiff from a judgment in favor of the defendants. The facts in the case, with a single exception, are the same as those more fully set forth in the case of Frost v. Los Angeles ante, p. 22, (183 P. 342]. The difference consists only in the fact that the plaintiff in this action is not a user of water which comes from the source which is alleged to be contaminated and unfit for use, and which the court found to be safe and healthful. The plaintiff, therefore, does not come within the provisions of the act of 1913, under which alone, in view of the findings of the court, he could maintain an action to enjoin a public nuisance. Consequently he had no right to maintain the action.
The judgment is affirmed.
Olney, J., Wilbur, J., Lennon, J., Melvin, J., Angellotti, C. J., and Lawlor, J., concurred.